    Case 5:14-cv-01317-DNH-ATB Document 107-1 Filed 06/11/19 Page 1 of 4



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK



                                         )
CAYUGA NATION, CLINT HALFTOWN,           )
TIMOTHY TWOGUNS, GARY WHEELER,           )
DONALD JIMERSON, MICHAEL                 )
BARRINGER, RICHARD LYNCH, B.J.           )
RADFORD, AND JOHN DOES 8-20,             )
                                         )
            Plaintiffs,                  )
                                         )
            v.                           )
                                         )
HOWARD TANNER, VILLAGE                   )              No. 5:14-cv-1317-DNH-ATB
OF UNION SPRINGS CODE ENFORCEMENT )
OFFICER, IN HIS OFFICIAL CAPACITY;       )
BUD SHATTUCK, VILLAGE OF UNION           )
SPRINGS MAYOR, IN HIS OFFICIAL           )
CAPACITY; CHAD HAYDEN, VILLAGE OF )
UNION SPRINGS ATTORNEY, IN HIS           )
OFFICIAL CAPACITY; BOARD OF              )
TRUSTEES OF THE VILLAGE OF UNION         )
SPRINGS, NEW YORK; AND THE VILLAGE )
OF UNION SPRINGS, NEW YORK,              )
                                         )
            Defendants.                  )
________________________________________ )


              PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                    MOTION TO DISMISS COUNTERCLAIM

       Pursuant to Local Rule 7.1(a) and Rule 12(b)(6) of the Federal Rules of Civil Procedure,

Plaintiffs Cayuga Nation, Clint Halftown, Timothy Twoguns, Gary Wheeler, Donald Jimerson,

Michael Barringer, Richard Lynch, B.J. Radford, and John Does 8-20 (“Plaintiffs”) hereby move

to dismiss the Counterclaim filed by Defendants with their Answer to the First Amended

Complaint. The Counterclaim seeks a declaration that the Cayuga Nation does not possess a




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     Case 5:14-cv-01317-DNH-ATB Document 107-1 Filed 06/11/19 Page 2 of 4



federal reservation. Plaintiffs seek the Counterclaim’s dismissal pursuant to a stipulation agreed

to by the parties and filed concurrently with this Motion (“Stipulation”).

        Plaintiffs’ claim under the Indian Gaming Regulatory Act (“IGRA”), 25 U.S.C. § 2501 et

seq., implicates whether Cayuga Nation’s gaming occurs on a federal reservation. That is because

IGRA permits “class II gaming on Indian lands,” 25 U.S.C. § 2710(a)(2), (b)(1), which IGRA

defines to include (among other things) “all lands within the limits of any Indian reservation,” id.

§ 2703(4)(A). Plaintiffs’ First Amended Complaint therefore alleged that Lakeside Entertainment

is located on a federal reservation established by the 1794 Treaty of Canandaigua that Congress has

never disestablished. Am. Compl. ¶¶ 36-38. For their part, Defendants deny those allegations and

further allege in their Counterclaim that the lands at issue in this case “are not located on an Indian

reservation.” Counterclaim ¶ 2. Defendants contend that the Treaty of Canandaigua did not create

a federal reservation, id. ¶¶ 31-40, or—alternatively—that this reservation was subsequently

disestablished (relying, in particular, on treaties with New York State in 1795 and 1807 and the

1838 Treaty of Buffalo Creek), id. ¶¶ 56-96.

        But despite these competing pleadings, the parties have stipulated and agreed that “under

current precedent, the Cayuga Nation today possesses a federal reservation that has not been

disestablished, such precedent including the decision of Judge Siragusa in the Western District of

New York dismissing a similar counterclaim to the one filed by Defendants.” Stipulation at 2; see

Cayuga Indian Nation of N.Y. v. Seneca Cty., 260 F. Supp. 3d 290, 307-15 (W.D.N.Y. 2017). Thus,

the Second Circuit and this Court (as well as others) have rejected the argument that the Treaty of

Canandaigua did not create a federal reservation but only recognized a state reservation.1 Likewise,


1
 See Oneida Indian Nation of New York v. City of Sherrill, 337 F.3d 139, 156 n.13 (2d Cir. 2003) (“the Canandaigua
Treaty recognized the Oneidas’ 300,000–acre reservation in federal terms”), rev’d on other grounds, 544 U.S. 197
(2005); Oneida Indian Nation of N.Y. v. Madison Cty., 605 F.3d 149, 157 n.6 (2d Cir. 2010) (Second Circuit’s “prior
holding on th[e] question” of whether the “alleged reservation land is Indian country … remains the controlling law

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        Case 5:14-cv-01317-DNH-ATB Document 107-1 Filed 06/11/19 Page 3 of 4



courts have rejected arguments that the 1795 and 1807 New York Treaties2 or the Treaty of Buffalo

Creek disestablished federal reservations—as to both the Cayuga3 and Oneida nations.4 Last, courts

have declined to find disestablishment based on City of Sherrill v. Oneida Indian Nation of New

York, 544 U.S. 197, 215-16 & n.9 (2005): After Sherrill, the Second Circuit has held that Sherrill’s

“laches”-based holding “did not upset” the Second Circuit’s precedent that the Oneida’s reservation

remained intact.5

           The parties thus have stipulated that this “Court may grant Plaintiffs’ motion to dismiss

Defendants’ counterclaim based on current precedent … without further briefing or argument.”

Stipulation at 3. Under the Stipulation, Defendants have “reserve[d] their right to argue on appeal

that existing precedent should be modified, overruled, or deemed not to apply to this case, and to

raise any arguments that may be based on the U.S. Supreme Court’s decision in Carpenter v.


of this circuit” after Supreme Court’s decision in Sherrill (internal quotation marks omitted)), vacated and remanded
sub nom. Madison Cty. v. Oneida Indian Nation of N.Y., 562 U.S. 42 (2011); see also Oneida Indian Nation of N.Y. v.
New York, 194 F. Supp. 2d 104, 140 (N.D.N.Y. 2002) (Kahn, J.); Upstate Citizens for Equal., Inc. v. Jewell, No. 5:08-
CV-0633 LEK, 2015 WL 1399366, at *6 (N.D.N.Y. Mar. 26, 2015) (Kahn, J.) (rejecting similar arguments as
foreclosed by “binding Second Circuit precedent”), aff’d sub nom. Upstate Citizens for Equal., Inc. v. United States,
841 F.3d 556 (2d Cir. 2016), cert. denied, No. 16-1320, 2017 WL 5660979 (U.S. Nov. 27, 2017); Cent. N.Y. Fair Bus.
Ass’n v. Jewell, No. 6:08-CV-0660 LEK/DEP, 2015 WL 1400384, at *8-9 (N.D.N.Y. Mar. 26, 2015) (Kahn, J.)
(similar), aff’d, 673 F. App’x 63 (2d Cir. 2016).
2
 Cayuga Indian Nation, 260 F. Supp. 3d at 308-09; see Cayuga Indian Nation of N.Y. v. Cuomo, 730 F. Supp. 485,
492-93 (N.D.N.Y. 1990) (McCurn, J.); Cayuga Indian Nation of N.Y. v. Pataki, 165 F. Supp. 2d 266, 353 (N.D.N.Y.
2001), rev’d on other grounds, 413 F.3d 266 (2d Cir. 2005); see also Pataki, 413 F.3d 266, 269 (2d Cir. 2005) (“it is
undisputed that th[ese New York] treat[ies] w[ere] never explicitly ratified by a treaty of the Federal Government”).
3
  Cayuga Indian Nation, 260 F. Supp. 3d at 311 (explaining that “District Judges in this Circuit have uniformly
concluded that the treaty did not disestablish the Cayuga Reservation, either directly or by belatedly ratifying the 1795
and 1807 sales to the State of New York,” and citing Cayuga Indian Nation, 730 F. Supp. at 492-93 (McCurn, J.), and
Cayuga Indian Nation of N.Y. v. Village of Union Springs, 317 F. Supp. 2d 128, 137-43 (N.D.N.Y. 2004) (Hurd, J.)
(“After consideration of both the plain language of the Buffalo Creek Treaty as well as the legislative history and
subsequent treatment of the land relating thereto, there is no substantial or compelling evidence that said Treaty served
to terminate the Cayugas’ reservation.”)).
4
  Cayuga Indian Nation, 260 F. Supp. 3d at 311 (“the Second Circuit has repeatedly indicated that the [Treaty of
Buffalo Creek] did not disestablish the Oneida reservation”); see City of Sherrill, 337 F.3d at 160-61; Madison Cty.,
605 F.3d at 157 n.6; Oneida Indian Nation of N.Y. v. Madison Cty., 665 F.3d 408, 443 (2d Cir. 2011) (“It remains the
law of this Circuit that the Oneidas’ reservation was not disestablished.” (internal quotation marks omitted)); Cent.
N.Y. Fair Bus. Ass’n v. Jewell, 673 F. App’x 63, 65-66 (2d Cir. 2016) (Oneida reservation “was not disestablished by
the 1838 Treaty of Buffalo Creek”).
5
    Madison Cty., 665 F.3d at 443; Madison Cty., 605 F.3d at 157 n.6.

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      Case 5:14-cv-01317-DNH-ATB Document 107-1 Filed 06/11/19 Page 4 of 4



Murphy (Docket No. 17-1107)”—in which the Supreme Court is currently considering a

disestablishment claim concerning the Creek Nation’s reservation in Oklahoma—“or any other

future decision of the U.S. Supreme Court, or any other future decision of any other court that

constitutes or reflects a change in law.” Id. But in this Court, and today, “Defendants acknowledge

that, under current precedent, the Cayuga Nation today possesses a federal reservation that has not

been disestablished.” Id. at 2. The Court should therefore grant Plaintiffs’ motion to dismiss,

consistent with the parties’ mutual desire “to proceed with an expeditious resolution of the matters

in dispute in the instant case, and avoid unnecessary delay and expense.” Id. at 3.6

                                                        CONCLUSION

         Plaintiffs respectfully request that the Court grant their motion to dismiss Defendants’

Counterclaim, consistent with the parties’ Stipulation.

                                                Respectfully submitted,

                                                /s/ David W. DeBruin
                                                David W. DeBruin (pro hac vice)
                                                Zachary C. Schauf (pro hac vice)
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                                                Attorneys for Plaintiffs




6
  Defendants have indicated that they intend to argue that, even if the Nation’s reservation has not been disestablished,
the lands at issue here do not qualify as “Indian lands” within the meaning of IGRA in light of City of Sherrill. Plaintiffs’
Motion here does not seek to foreclose Defendants from raising such IGRA statutory arguments.

                                                             4
